






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-09-00391-CV






Lynda S. David, Appellant


v.


Williamson County, Texas, Appellee






FROM THE DISTRICT COURT OF WILLIAMSON COUNTY, 26TH JUDICIAL DISTRICT

NO. 03-561-C26, HONORABLE BILLY RAY STUBBLEFIELD, JUDGE PRESIDING





M E M O R A N D U M   O P I N I O N


		On July&nbsp;17, 2001, appellant Lynda S. David, while inside a Williamson County
courthouse, fell on some stairs and was injured.  On July&nbsp;18, 2003, David filed suit against
the&nbsp;appellee Williamson County, alleging tort claims of negligence and premises liability. 
Williamson County filed a motion for summary judgment in March&nbsp;2009.  On April&nbsp;6, 2009, prior
to the district court's hearing on Williamson County's motion for summary judgment, David filed
an amended petition in which she added for the first time a cause of action under the federal
Americans with Disabilities Act (ADA).  See 42 U.S.C. §&nbsp;12132 (2006) (prohibiting exclusion,
by&nbsp;reason of disability, from participation in services, programs, or activities of public entity). 
Williamson County did not amend its motion for summary judgment or otherwise address the
new&nbsp;ADA claim in its motion for summary judgment.  On April&nbsp;17, 2009, the district court granted
Williamson County's motion for summary judgment and entered a take nothing judgment against
David on all her claims.

		On appeal, David asserts that the district court erred in entering judgment on her
cause of action under the ADA.  Summary judgment is proper if "there is no genuine issue as to any
material fact and the moving party is entitled to judgment as a matter of law on the issues expressly
set out in the motion or in an answer or any other response."  Tex. R. Civ. P. 166a(c) (emphasis
added); see McConnell v. Southside Indep. Sch. Dist., 858 S.W.2d 337, 341 (Tex. 1993) ("A motion
must stand or fall on the grounds expressly presented in the motion."); Klein v. Reynolds,
Cunningham, Peterson &amp; Cordell, 923 S.W.2d 45, 49 (Tex. App.--Houston [1st Dist.] 1995,
no&nbsp;writ) (op. on reh'g) ("[A] defendant is not entitled to a summary judgment on the entire case
unless the defendant files a [motion for] summary judgment that addresses, and then conclusively
demonstrates, that the plaintiff is not entitled to recover on any theory of liability alleged.").  Neither
Williamson County's motion for summary judgment nor any answer or response in the record
addresses David's ADA claim.  The motion addresses only David's tort claims and is based solely
on provisions of the Texas Tort Claims Act.  See Tex. Civ. Prac. &amp; Rem. Code Ann. §§&nbsp;101.061,
.101 (West 2005).  Therefore, the district court's dismissal of David's ADA claim was error.

		We reverse the district court's dismissal of David's cause of action under the ADA
and remand for further proceedings consistent with this opinion.


						__________________________________________

						G. Alan Waldrop, Justice

Before Chief Justice Jones, Justices Pemberton and Waldrop

Reversed and Remanded

Filed:   April 15, 2010


